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          EXHIBIT A
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                                                     REMOVAL EXHIBIT A 001
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                                                     REMOVAL EXHIBIT A 002
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 1                                    INTRODUCTION
 2        1.    Under the Telephone Consumer Protection Act of 1991, 47 U.S.C. §
 3 227 (hereafter "TCPA") and its implementing regulations, 47 C.F.R. § 64.1200, it is
 4 unlawful for any person "to use any telephone facsimile machine, computer, or other

 5 device to send, to a telephone facsimile machine, an unsolicited advertisement,"
 6 unless the sender has an "established business relationship with the recipient," and

 7 the sender complies with other specific requirements concerning the sending of
 8 unsolicited advertisements, including but not limited to, providing the particular

 9 notices required by 47 U.S.C. § 227(b)(1)(C)(i), (b)(1)(C)(iii), and (b)(2)(D).
10        2.    Thus, irrespective of whether a sender has an established business
11 relationship with the recipient, the TCPA makes it unlawful to send an unsolicited
12 advertisement if the notice required by 47 U.S.C. § 227 (b)(2)(D) is not contained in

13 the unsolicited advertisement.     ("It shall be unlawful for any person within the
14 United States" "to use any telephone facsimile machine, computer, or other device
15 to send, to a telephone facsimile machine, an unsolicited advertisement, unless" "the
16 unsolicited advertisement contains a notice meeting the requirements under
17 paragraph (2)(D)." 47 U.S.C. § 227(b)(1)(C)(iii).
18        3.    In turn, the TCPA's 47 U.S.C. § 227(b)(2)(D) specifies that the notice
19 contained in an unsolicited advertisement must include, among other things, the

20 following:
21        "(i) the notice is clear and conspicuous and on the first page of the
          unsolicited advertisement;
22
          (ii) the notice states that the recipient may make a request to the sender of
23        the unsolicited advertisement not to send any future unsolicited
          advertisements to a telephone facsimile machine or machines and that
24        failure to comply, within the shortest reasonable time, as determined by
          the Commission, with such a request meeting the requirements under
25        subparagraph (E) is unlawful;
26        (iii) the notice sets forth the requirements for a request under
          subparagraph (E);
27
          (iv) the notice includes—
28

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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 003
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 1               (I) a domestic contact telephone and facsimile machine number for
          the recipient to transmit such a request to the sender; and
 2
                 (II) a cost-free mechanism for a recipient to transmit a request
 3        pursuant to such notice to the sender of the unsolicited advertisement; the
          Commission shall by rule require the sender to provide such a
 4        mechanism and may, in the discretion of the Commission and subject to
          such conditions as the Commission may prescribe, exempt certain classes
 5        of small business senders, but only if the Commission determines that the
          costs to such class are unduly burdensome given the revenues generated
 6        by such small businesses;
 7        (v) the telephone and facsimile machine numbers and the cost-free
          mechanism set forth pursuant to clause (iv) permit an individual or
 8        business to make such a request at any time on any day of the week."
 9        4.    Defendants, RENTOKIL NORTH AMERICA, INC., formerly known
10 as J. C. Ehrlich Co., Inc. (d/b/a Western Exterminator Company), and DOES 1

11 through 100, inclusive, (hereafter collectively referred to as "Defendants"), have
12 violated the TCPA by sending unsolicited advertisements to the telephone facsimile

13 numbers of persons and entities, such as Plaintiff, with whom Defendants have no
14 "established business relationship."
15        5.    Moreover, even if Defendants had an established business relationship
16 with those recipients to whom they sent the unsolicited advertisements (which they
17 did not), Defendants nevertheless violated the TCPA because the unsolicited
18 advertisements which Defendants sent did not contain the notice required by 47
19 U.S.C. § 227 (b)(2)(D), including the notice required to be on the first page and

20 which "states that the recipient may make a request to the sender of the unsolicited
21 advertisement not to send any future unsolicited advertisements … and that failure

22 to comply … is unlawful."
23        6.    Defendants have used, "fax broadcasting," fax number databases and
24 other methods to perpetrate their unsolicited advertising scheme.      The term "fax
25 broadcasting" means the practice of faxing text or images en masse to several

26 recipients at once, where each fax number dialed is drawn from a list or database of
27 fax numbers.

28

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                       COMPLAINT AND DEMAND FOR JURY TRIAL
                                                     REMOVAL EXHIBIT A 004
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 1        7.    Pursuant to the federal TCPA, and California's counterpart to the
 2 TCPA, Business & Professions Code § 17538.43, Plaintiff brings this class action to

 3 seek relief from Defendants' unlawful practices and acts.
 4        8.    Plaintiff seeks statutory and treble damages on behalf of himself and
 5 the Class and Subclass, and a permanent injunction enjoining Defendants from
 6 continuing their unlawful practice of sending unsolicited fax advertisements and

 7 causing or contributing to the unlawful practice of sending unsolicited fax
 8 advertisements by others.

 9
10                             JURISDICTION AND VENUE
11        9.    This Court has original jurisdiction pursuant to California Code of Civil
12 Procedure section 410.10 and 47 U.S.C. § 227(b)(3).

13        10.   This Court has personal jurisdiction over RENTOKIL NORTH
14 AMERICA, INC., formerly known as J. C. Ehrlich Co., Inc. (d/b/a Western
15 Exterminator Company) because it committed many of the wrongs complained of
16 herein within California, it has several physical facilities in California, does
17 extensive business in California, and otherwise intentionally avails itself of the
18 markets in California through the promotion, marketing, sale, and distribution of
19 goods and services in California to render the exercise of jurisdiction by the

20 California courts permissible under traditional notions of fair play and substantial
21 justice.

22        11.   Venue is proper in this Court pursuant to California Code of Civil
23 Procedure §§ 395 and 395.5.      Defendants sent unsolicited fax advertisements to
24 numerous persons residing in this county, including Plaintiff.     Many of the acts
25 giving rise to the violations complained of herein occurred and had their primary

26 effect in this county. This is a class action case and the aggregate amount of the
27 claims exceeds the jurisdictional minimum of this Court.

28

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                       COMPLAINT AND DEMAND FOR JURY TRIAL
                                                     REMOVAL EXHIBIT A 005
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 1                                      PARTIES
 2        12.   Plaintiff Vahe Messerlian is and at all times relevant hereto was a
 3 resident of the State of California. Plaintiff received one or more unsolicited fax
 4 advertisements from Defendants, including the unsolicited fax advertisement a copy

 5 of which is attached hereto as Exhibit 1.
 6        13.   Defendant RENTOKIL NORTH AMERICA, INC. is and at all times
 7 relevant hereto was a corporation organized and existing under the laws of the State
 8 of Pennsylvania. Defendant RENTOKIL NORTH AMERICA, INC. was formerly

 9 known as J. C. Ehrlich Co., Inc.    RENTOKIL NORTH AMERICA, INC. uses the
10 fictitious business name and does business as Western Exterminator Company.

11 When RENTOKIL NORTH AMERICA, INC. previously did business using the
12 corporate name J. C. Ehrlich Co., Inc., it likewise used the fictitious business name

13 and did business as Western Exterminator Company. At all times relevant hereto,
14 RENTOKIL NORTH AMERICA, INC. formerly known as J. C. Ehrlich Co., Inc.
15 (d/b/a Western Exterminator Company) has done and continues to do business in
16 Los Angeles County, California.
17        14.   At all times mentioned in this Complaint, Defendants and each of them
18 were the agents, employees, joint venturer, and or partners of each other and were
19 acting within the course and scope of such agency, employment, joint venturer and

20 or partnership relationship and or each of the Defendants ratified and or authorized
21 the conduct of each of the other Defendants.

22        15.   Plaintiff does not know the true names and capacities of defendants
23 sued herein as DOES 1 through 100, inclusive, and therefore sues these defendants

24 by such fictitious names. Plaintiff is informed and believes that each of the DOE
25 defendants was in some manner legally responsible for the wrongful and unlawful

26 conduct and harm alleged herein. Plaintiff will amend this Complaint to set forth
27 the true names and capacities of these defendants when they have been ascertained,

28 along with appropriate charging allegations.

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                       COMPLAINT AND DEMAND FOR JURY TRIAL
                                                     REMOVAL EXHIBIT A 006
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 1                          CLASS ACTION ALLEGATIONS
 2        16.    Plaintiff brings this class action on behalf of himself and all other
 3 persons and entities similarly situated, pursuant to the provisions of California Code
 4 of Civil Procedure section 382, and, to the extent deemed applicable, California

 5 Civil Code Section 1781, Rules 23(a)(1)-(4), 23(b)(1), 23(b)(2) and 23(b)(3) of the
 6 Federal Rules of Civil Procedure, and case law thereunder, to which California

 7 courts have been directed by the California Supreme Court to look for guidance.
 8        17.    The class which Plaintiff seeks to represent is defined as:
 9               All persons and other entities within the United States who
10               were a subscriber of a telephone facsimile number and to
11               which telephone facsimile number Defendants sent or
12               caused to be sent, within four years of the date this action
13               was filed, one or more transmissions in the form of, or
14               substantially similar to, Exhibit 1 (the "Class").1
15        18.    Included within the Class is a Subclass defined the same as the Class
16 with the exception that the Subclass is limited to all persons and other entities within
17 California to whose telephone facsimile number advertisements were sent from
18 California, i.e., intra-state advertisements sent from California to persons and other
19 entities in California. The Subclass is defined as follows:

20               All persons and other entities within California who were
21               a subscriber of a telephone facsimile number and to which
22               telephone facsimile number Defendants sent from
23               California or caused to be sent from California, within
24               four years of the date this action was filed, one or more
25

26
27
          1
28            Plaintiff reserves the right to amend or otherwise modify the Class
     definition.
                                        -6-
                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 007
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 1               transmissions in the form of, or substantially similar to,
 2               Exhibit 1 (the "Subclass").2
 3        19.    Excluded from the Class and Subclass are Defendants and their
 4 directors, officers and employees, and any judge or justice assigned to hear any

 5 aspect of this litigation, and any spouse of such judge or justice.
 6        20.    Numerosity (Cal. Code Civ. Proc. § 382; Cal. Civ. Code § 1781(b)(1);
 7 Fed. R. Civ. P. 23(a)(1)): The Class and Subclass are so numerous that joinder of
 8 them all in one action would be impractical. The disposition of their claims through

 9 this class action will benefit both the parties and this Court. The exact size of the
10 Class and Subclass and identities of individual members thereof are ascertainable

11 through Defendants' records, including Defendants’ fax transmittal records and fax
12 number database.

13        21.    Typicality (Cal. Civ. Code § 1781(b)(3); Fed. R. Civ. P. 23(a)(3)):
14 Plaintiff's claims are typical of the claims of the entire Class and Subclass, in that
15 Plaintiff and absent Class and Subclass members were each a subscriber of a
16 telephone facsimile number and they each received one or more unsolicited
17 advertisements from Defendants in the form of, or substantially similar to, Exhibit 1.
18        22.    Common Questions of Fact and Law (Cal. Code Civ. Proc. § 382; Cal.
19 Civ. Code § 1781(b)(2); Fed. R. Civ. P. 23(a)(2) and (b)(3)):         There is a well-
20 defined community of interest in the questions of law and fact affecting the
21 members of the Class and Subclass and Defendants.

22        23.    The questions of fact and law common to the Class, including the
23 Subclass, predominate over questions which may affect individual members, and

24 include the following:
25

26
27
          2
28            Plaintiff reserves the right to amend or otherwise modify the Subclass
     definition and/or add further subclasses.
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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 008
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 1              (a)     Whether Defendants used a telephone facsimile machine,
 2 computer or other device to send an unsolicited advertisement to a telephone

 3 facsimile machine;
 4              (b)     Whether Defendants’ use of a telephone facsimile machine,
 5 computer or other device to send an unsolicited advertisement to a telephone
 6 facsimile machine violated the Telephone Consumer Protection Act, 47 U.S.C. §

 7 227(b)(1)(C);
 8              (c)     Whether the sending of Defendants’ unsolicited advertisements
 9 was willful or knowing;
10              (d)     Whether Plaintiff and the Class and/or Subclass are entitled to
11 statutory and or treble damages as provided by 47 U.S.C. § 227(b)(3) for
12 Defendants' acts and conduct; and

13              (e)     Whether Plaintiff and the Class and/or Subclass are entitled to a
14 permanent injunction enjoining Defendants from continuing to engage in unlawful
15 or unfair business practices and acts.
16        24.   Adequacy of Representation (Cal. Civ. Code § 1781(b)(4); Fed. R. Civ.
17 P. 23(a)(4)): Plaintiff is an adequate representative of the Class and Subclass
18 because his interests do not conflict with the interests of the Class and Subclass
19 members which Plaintiff seeks to represent. Plaintiff will fairly, adequately, and

20 vigorously represent and protect the interests of the Class and Subclass and has no
21 interests antagonistic to the Class or Subclass. Plaintiff has retained counsel who is

22 competent and experienced in the prosecution of class action litigation.
23        25.   Superiority (Cal. Code Civ. Proc. § 382; Fed. R. Civ. P. 23(b)(1) and
24 23(b)(3)):   A class action is superior to other available means for the fair and
25 efficient adjudication of the claims of the Class and Subclass. While the aggregate

26 damages awarded to the Class and Subclass are likely to be substantial, the damages
27 suffered by individual members of the Class and Subclass are relatively small. As a

28 result, the expense and burden of individual litigation makes it economically

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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 009
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 1 infeasible and procedurally impracticable for each member of the Class and
 2 Subclass to individually seek redress for the wrongs done to them. The likelihood

 3 of individual Class and Subclass members prosecuting separate claims is remote.
 4 Individualized litigation would also present the potential for varying, inconsistent or

 5 contradictory judgments, and would increase the delay and expense to all parties and
 6 the court system resulting from multiple trials of the same factual issues.         In
 7 contrast, the conduct of this matter as a class action presents fewer management
 8 difficulties, conserves the resources of the parties and the court system, and would

 9 protect the rights of each member of the Class and Subclass. Plaintiff knows of no
10 difficulty to be encountered in the management of this action that would preclude its

11 maintenance as a class action.
12        26.    Injunctive Relief (Fed. R. Civ. P. 23(b)(2)): Defendants have acted on
13 grounds generally applicable to the Class and Subclass, thereby making appropriate
14 final injunctive relief with respect to the Class and Subclass as a whole.
15
16                             FIRST CAUSE OF ACTION
17                           For Violation of 47 U.S.C. § 227
18      (On Behalf of Plaintiff and the Plaintiff Class and Subclass as against all
19                     Defendants including DOES 1 through 100)
20        27.    Plaintiff hereby incorporates by reference the allegations contained in
21 this Complaint.

22        28.    Plaintiff asserts this claim on behalf of himself and the Plaintiff Class
23 and Subclass against Defendants and each of them.

24        29.    Through the use of telephone facsimile machine(s), computer(s), and or
25 other devices, within four years of the date this action was filed, Defendants sent or

26 caused to be sent to the telephone facsimile numbers of Plaintiff, the Class and
27 Subclass one or more unsolicited advertisements in the form of, or substantially

28 similar to, Exhibit 1.

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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 010
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 1        30.   Plaintiff Vahe Messerlian is, and has been for more than four years, the
 2 subscriber of the dedicated telephone facsimile number (818) 368-8480. Plaintiff

 3 Vahe Messerlian received, through his telephone facsimile number (818) 368-8480
 4 and telephone facsimile machine, one or more unsolicited advertisements from

 5 Defendants, including the unsolicited advertisement received on or about March 27,
 6 2015 a true and correct copy of which is attached hereto as Exhibit 1 and is

 7 incorporated by reference as though fully set forth herein.
 8        31.   The term “unsolicited advertisement” as defined by the Telephone
 9 Consumer Protection Act, 47 U.S.C. § 227(a)(5) means: “any material advertising
10 the commercial availability or quality of any property, goods, or services which is

11 transmitted to any person without that person's prior express invitation or
12 permission, in writing or otherwise.”

13        32.   The faxes sent or caused to be sent by Defendants to Plaintiff and the
14 Class and Subclass constitute "unsolicited advertisements" as defined by the TCPA.
15 Each such fax advertised the commercial availability or quality of property, goods,
16 and or services.
17        33.   Plaintiff and the Class and Subclass did not provide any of the
18 Defendants with any prior express invitation or permission to transmit or send the
19 unsolicited advertisements.

20        34.   Neither Plaintiff nor the Class, including the Subclass, had any prior
21 relationship with any of the Defendants sufficient to authorize the sending of the

22 unsolicited advertisements. There was no established business relationship between
23 any of the Defendants and Plaintiff or the Class or Subclass when Defendants sent

24 and or caused to be sent to the respective telephone facsimile number(s) of Plaintiff,
25 the Class and Subclass, Defendants’ unsolicited advertisements. Neither Plaintiff

26 nor the Class, including the Subclass, had any prior or existing relationship with any
27 of the Defendants or a voluntary two-way communication with any of the

28 Defendants when Defendants sent and or caused to be sent to the respective

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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 011
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 1 telephone facsimile number(s) of Plaintiff, the Class and Subclass, Defendants’
 2 unsolicited advertisements.

 3        35.   Moreover and in any event, as explained in further detail in paragraphs
 4 1-5, above, even if Defendants had an established business relationship with those

 5 recipients to whom they sent the unsolicited advertisements (which they did not),
 6 Defendants nevertheless violated the TCPA because the unsolicited advertisements

 7 which Defendants sent did not contain the notice required by 47 U.S.C. § 227
 8 (b)(2)(D), including the notice required to be on the first page and which "states that

 9 the recipient may make a request to the sender of the unsolicited advertisement not
10 to send any future unsolicited advertisements … and that failure to comply … is

11 unlawful."
12        36.   Through their conduct, Defendants violated the TCPA, which prohibits
13 the sending of unsolicited fax advertisements.
14        37.   Accordingly, under the TCPA, Defendants are liable to Plaintiff and the
15 Class and Subclass in the statutory damage amount of $500 per each unsolicited fax
16 advertisement sent, and, in the event it is found by a trier of fact that Defendants’
17 violations were willful or knowing, Defendants are liable to Plaintiff and the Class
18 and Subclass for treble damages of up to $1500 per each unsolicited fax
19 advertisement sent.

20        38.   Defendants interfered with Plaintiff's and the Class' and Subclass' rights
21 in their respective telephone facsimile number(s) and/or telephone facsimile

22 machine(s), by dialing Plaintiff's and the Class' and Subclass' respective designated
23 telephone facsimile number(s) and sending to each of them one or more facsimile

24 transmissions.
25        39.   Defendants took possession of Plaintiff's and the Class' and Subclass'
26 telephone facsimile number(s) and/or telephone facsimile machine(s), without their
27 consent, by dialing Plaintiff's and the Class' and Subclass' respective designated

28

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                                       REMOVAL EXHIBIT A 012
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 1 telephone facsimile number(s) and sending to each of them one or more facsimile
 2 transmissions.

 3        40.   Unless restrained, Defendants will continue to engage in their unlawful
 4 conduct.

 5        41.   Plaintiff seeks on behalf of himself, the Class and Subclass a permanent
 6 injunction enjoining Defendants and each of them from continuing their unlawful

 7 practice of sending unsolicited fax advertisements and causing or contributing to the
 8 unlawful practice of sending unsolicited fax advertisements by others.

 9        42.   The TCPA was enacted to protect the right of privacy of Plaintiff and
10 the Class and Subclass. The conduct alleged herein constitutes a highly offensive

11 intrusion into the homes and/or businesses of Plaintiff and the Class and Subclass,
12 and violates the right of privacy of the Plaintiff and the Class and Subclass. The

13 damages sought herein constitute "Advertising Injury" within the meaning of
14 standard-form Commercial General Liability or Comprehensive General Liability
15 insurance policies maintained by most businesses.
16
17                            SECOND CAUSE OF ACTION
18        For Violation of California Business & Professions Code § 17538.43
19                   (On Behalf of Plaintiff and the Subclass as against
20                    all Defendants including DOES 1 through 100)
21        43.   Plaintiff hereby incorporates by reference the allegations contained in
22 this Complaint.
23        44.   Plaintiff assert this claim on behalf of himself and the Subclass against
24 Defendants and each of them.
25        45.   This Second Cause of Action is limited solely to intra-state unsolicited
26 advertisements sent from California to the telephone facsimile number(s) of persons
27 and other entities in California as set forth in paragraph 18, above, which is

28 incorporated by reference as though fully set forth herein.

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                                       REMOVAL EXHIBIT A 013
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 1        46.     Business & Professions Code § 17538.43(b)(1) provides as follows:
 2                “It is unlawful for a person or entity, if either the person or
 3                entity or the recipient is located within California, to use
 4                any telephone facsimile machine, computer, or other
 5                device to send, or cause another person or entity to use
 6                such a device to send, an unsolicited advertisement to a
 7                telephone facsimile machine.”
 8        47.     Through the use of telephone facsimile machine(s), computer(s), and or
 9 other devices, Defendants sent or caused to be sent to the telephone facsimile
10 number(s) of Plaintiff and the Subclass one or more unsolicited advertisements.

11        48.     Plaintiff Vahe Messerlian received, in Los Angeles County, California,
12 through his telephone facsimile number (818) 368-8480 and telephone facsimile

13 machine, one or more unsolicited advertisements from Defendants, including the
14 unsolicited advertisement received on or about March 27, 2015 a true and correct
15 copy of which is attached hereto as Exhibit 1 and is incorporated by reference as
16 though fully set forth herein.
17        49.     The term “unsolicited advertisement” as defined by the Business &
18 Professions Code § 17538.43 means: “any material advertising the commercial
19 availability or quality of any property, goods, or services that is transmitted to any

20 person or entity without that person's or entity’s prior express invitation or
21 permission.”

22        50.     The faxes sent or caused to be sent by Defendants to Plaintiff and the
23 Subclass constitute "unsolicited advertisements" as defined by Business &

24 Professions Code § 17538.43. Each such fax advertised the commercial availability
25 or quality of property, goods, and or services.

26        51.     Plaintiff and the Subclass did not provide any of the Defendants with
27 any prior express invitation or permission to transmit or send the unsolicited

28 advertisements.

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                                       REMOVAL EXHIBIT A 014
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 1        52.    Through their conduct, Defendants violated Business & Professions
 2 Code § 17538.43, which prohibits the sending of unsolicited fax advertisements if

 3 either the person or entity or the recipient is located within California.
 4        53.    Accordingly, under Business & Professions Code § 17538.43,
 5 Defendants are liable to Plaintiff and the Subclass in the statutory damage amount of
 6 $500 per each unsolicited fax advertisement sent, and, in the event it is found by a

 7 trier of fact that Defendants’ violations were willful or knowing, Defendants are
 8 liable to Plaintiff and the Subclass for treble damages of up to $1500 per each

 9 unsolicited fax advertisement sent.       Business & Professions Code § 17538.43
10 provides that the these remedies may be recovered “[i]n addition to any other

11 remedy provided by law, including a remedy provided by the Telephone Consumer
12 Act (47 U.S.C. Sec. 227 and following).”

13        54.    Unless restrained, Defendants will continue to engage in their unlawful
14 conduct.
15        55.    Plaintiffs seeks on behalf of himself and the Subclass a permanent
16 injunction enjoining Defendants and each of them from continuing their unlawful
17 practice of sending unsolicited fax advertisements and causing or contributing to the
18 unlawful practice of sending unsolicited fax advertisements by others.
19        56.    The conduct alleged herein constitutes a highly offensive intrusion into
20 the homes and or businesses of Plaintiff and the Subclass, and violates the right of
21 privacy of the Plaintiff and the Subclass. The damages sought herein constitute

22 "Advertising Injury" within the meaning of standard-form Commercial General
23 Liability or Comprehensive General Liability insurance policies maintained by most

24 businesses.
25

26                                PRAYER FOR RELIEF
27        WHEREFORE, Plaintiff prays for:
28        1.     An order certifying the Class and Subclass, and appointing Plaintiff as

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                        COMPLAINT AND DEMAND FOR JURY TRIAL
                                                      REMOVAL EXHIBIT A 015
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                   EXHIBIT “1”




                                                      REMOVAL EXHIBIT A 018
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                                                      REMOVAL EXHIBIT A 019
